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                                  5                           IN THE UNITED STATES DISTRICT COURT
                                  6                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  7
                                  8      CITY AND COUNTY OF SAN                           Case No. 18-cv-07591-CRB
                                         FRANCISCO, et al.,
                                  9
                                                        Plaintiffs,                       ORDER RE TRIAL EXHIBITS
                                  10
                                                   v.
                                  11
                                         PURDUE PHARMA L.P., et al.,
Northern District of California




                                  12
 United States District Court




                                                        Defendants.
                                  13
                                  14
                                              In advance of the upcoming trial, the Court orders the following regarding trial
                                  15
                                       exhibits.
                                  16
                                              Deadline for Filing Exhibit Lists
                                  17
                                              The parties shall file copies of their exhibit lists by April 19, 2022 at 5 pm. The
                                  18
                                       parties shall also email excel versions of their exhibit lists to crbcrd@cand.uscourts.gov.
                                  19
                                              Exhibit Stickers
                                  20
                                              Pursuant to the Court’s Order (dkt. 1045), the front page of each exhibit will contain
                                  21
                                       an exhibit sticker that does not overlap with or obstruct any text or content of the exhibit.
                                  22
                                       Plaintiff will use yellow stickers and Defendants will use blue stickers. Electronically
                                  23
                                       generated stickers are acceptable. The exhibit stickers shall include the case number, case
                                  24
                                       name, and the date that the exhibit is admitted.
                                  25
                                              Submitting Exhibits for Public Hosting
                                  26
                                              Exhibits admitted in this case will be hosted by the Court for public viewing. The
                                  27
                                       parties are to follow the below process for submitting exhibits to the Court to be posted
                                  28
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                                  1    online:
                                  2           1. Counsel for each side must place each day’s exhibits on a single newly
                                  3              formatted (completely erased) USB drive in .pdf format. No other files may be
                                  4              present on the drive besides those introduced into evidence that day.
                                  5           2. The file name for each exhibit shall be the unique exhibit number and the exhibit
                                  6              number shall be branded on each page of the exhibit.
                                  7           3. Counsel shall provide a USB drive of the exhibits admitted the previous day to
                                  8              the CRD each morning before the trial proceedings for that day begin. Exhibits
                                  9              admitted on a Thursday may be provided the following Monday.
                                  10          4. The CRD shall copy the contents of the drive to the court’s network and the
                                  11             CRD shall return the drive to counsel.
                                              5. Submitted exhibits will be timely posted to a publicly accessible online folder
Northern District of California




                                  12
 United States District Court




                                  13             available at http://files.cand.uscourts.gov/.
                                  14          Daily Admitted Exhibit Lists
                                  15          By 4 pm each day of trial, each party that has admitted an exhibit into evidence that
                                  16   day shall email crbcrd@cand.uscourts.gov a list containing (1) the unique exhibit number
                                  17   for each exhibit and (2) a short description of the exhibit.
                                  18          Complete List of Admitted Exhibits
                                  19          At the conclusion of trial, the parties shall jointly provide a single storage drive
                                  20   containing all of the exhibits admitted during trial. The file name for each exhibit shall be
                                  21   the unique exhibit number.
                                  22
                                  23          IT IS SO ORDERED.
                                  24          Dated: April 11, 2022
                                  25
                                                                                          CHARLES R. BREYER
                                  26                                                      United States District Judge
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